        Case 6:20-cv-06150-CJS-MWP Document 40 Filed 10/11/22 Page 1 of 6




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X
CRUSHAUN HUNDLEY,

                    Plaintiff,                           PLAINTIFF’S MOTIONS IN LIMINE

          -against-                                                20-cv-6150 CJS

CORRECTION OFFICER A. FRUNZI,
et al.,

                     Defendants.
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X

          Plaintiff seeks an order precluding defendants from offering into evidence or referencing

in any other manner at trial the following: 1) Plaintiff’s criminal convictions; 2) Plaintiff’s

disciplinary history while in DOCCS custody; 3) Defendants’ military records; and

4) Defendants’ purported entitlement to the defense of “qualified immunity.”

1.        Reference to Criminal Convictions

                    Plaintiff’s 2012 Convictions

          In 2012, plaintiff was convicted of Robbery in the 3rd Degree, Criminal Possession of a

Weapon in the 3rd Degree, and Aggravated Harassment by an Inmate on an Employee, and he

served a term of imprisonment of eight years. While plaintiff does not oppose evidence that he

was convicted of felonies in 2012 and served an eight-year term of imprisonment, he does

oppose any evidence as to the nature of the crimes of which he was convicted.

          First, none of these crimes evidences plaintiff’s character for truthfulness, and therefore

would not be admissible under Fed. R. Evid. 609(a). Second, Fed. R. Evid. 404(b)(1) prohibits

evidence of a crime “to prove a person’s character in order to show that on a particular occasion

the person acted in accordance with the character.” Here, where defendants assert that they used

force against plaintiff on December 20, 2017 because he disobeyed an order from an officer,
      Case 6:20-cv-06150-CJS-MWP Document 40 Filed 10/11/22 Page 2 of 6




attempted to assault an officer, and reached for a weapon, evidence that plaintiff previously had

been convicted of a violent crime, weapons possession, and harassing an employee undoubtedly

would be used to attempt to persuade the jury that on December 20, 2017, plaintiff acted in

accordance with that prior behavior. Third, even were there any arguable relevance to evidence

of the nature of these crimes, the probative value would be substantially outweighed by the

danger of unfair prejudice, confusing the issues, and misleading the jury, and therefore should be

excluded under Fed. R. Evid. 403.

       Plaintiff’s 2003 Conviction

       In 2003, plaintiff was convicted of Attempted Robbery in the 2nd Degree, and he served a

term of imprisonment of five years. Pursuant to Fed. R. Evid. 609(b), evidence of that

conviction should not be admitted. FRCP Rule 609(b) provides, in pertinent part, as follows:


b) Limit on Using the Evidence After 10 Years. This subdivision (b) applies if more than 10
years have passed since the witness’s conviction or release from confinement for it, whichever is
later. Evidence of the conviction is admissible only if:

(1) its probative value, supported by specific facts and circumstances, substantially outweighs its
prejudicial effect; and

(2) the proponent gives an adverse party reasonable written notice of the intent to use it so that
the party has a fair opportunity to contest its use.

       Here, since more than 14 years have passed since plaintiff was released from confinement

for his 2003 conviction, and the probative value, if any, of this 19-year-old conviction does not

substantially outweigh the prejudicial effect that would result from the jury learning of that prior

conviction, evidence of that conviction should be excluded.

2.     Plaintiff’s Disciplinary History

       During discovery, defendants furnished plaintiff with a printout of his “Inmate

Disciplinary History,” which documented that plaintiff had been found guilty of disciplinary


                                                 2
      Case 6:20-cv-06150-CJS-MWP Document 40 Filed 10/11/22 Page 3 of 6




infractions on 23 occasions during the incarceration for his 2012 convictions. A copy of the

printout is annexed hereto as Exhibit 1. The charges of which plaintiff was found guilty include

weapon possession, threats, disobeying a direct order, creating a disturbance, violent conduct,

assault on staff, and many lesser offenses, including littering, loss or damage to property,

soliciting, being in an unauthorized location, and “gangs.”

       None of these charges relate to plaintiffs’ character for truthfulness or untruthfulness.

However, defendants presumably will attempt to offer evidence of these prior charges to

demonstrate that on December 20, 2017, plaintiff acted in accordance with his prior documented

behavior. The Court should prohibit this attempt under Fed. R. Evid. 404(b)(1) and Fed. R.

Evid. 403. See Hynes v. Coughlin, 79 F.3d 285 (2d Cir. 1996) (holding that it was error to allow

the introduction of plaintiff's prison disciplinary record because the evidence was used to show

plaintiff's character, which was prohibited by the Federal Rules of Evidence).

3.      Defendants’ Military Records

       At his deposition, defendant Sgt. Thomas Mallare testified that he previously was in the

Air Force reserves, having retired from the military on December 31, 2013. He further testified

that he was activated in the reserves following 911, and thereafter was stationed as part of a

security force in Uzbekistan, Afghanistan, and Iraq. Annexed hereto as Exhibit 2 are pages from

the transcript of Mallare’s deposition wherein he references his military record.

       Mallare and the other defendants should be precluded from testifying or offering any

other evidence of their prior military service or any commendations they received while in the

military. The purpose of presenting such testimony would be to convince the jury that these

officers are heroes who put their lives on the line to protect the citizenry, and, as a result, should

be viewed as more trustworthy. However, this constitutes impermissible propensity evidence as



                                                   3
      Case 6:20-cv-06150-CJS-MWP Document 40 Filed 10/11/22 Page 4 of 6




per Fed. R. Evid. 404(b). Moreover, any arguable probative value of such evidence would be

substantially outweighed by the danger of unfair prejudice to plaintiff. See United States v.

Nazzaro, 889 F.2d 1158, 1168 (1st Cir. 1989) (affirming lower courts’ order rejecting

defendant’s offer into evidence of commendations received by him in military service);

4.     Reference to “Qualified Immunity”

        Defendants have signaled that they intend to pursue an affirmative defense of “qualified

immunity.” Defendants should be precluded from asserting that defense or from otherwise

referencing the concept of “qualified immunity” during the trial, as such a defense is not

available to a defendant charged with a use of excessive force in violation of the Eighth

Amendment.

       In a lawsuit alleging excessive force in violation of the Eighth Amendment’s prohibition

against cruel and unusual punishment, the inquiry turns on whether the force was applied

“maliciously and sadistically,” rather than as part of “a good-faith effort to maintain or restore

discipline.” Wilkins v. Gaddy, 559 U.S. 34, 40 (2010). Here, if the jury concludes that one or

more of the officers violated plaintiff’s Eighth Amendment rights in connection with the use-of-

force incident, the jury necessarily will have found that the officer(s) acted “maliciously and

sadistically,” which, by definition, will preclude a defense of qualified immunity. See Aczel v.

Labonia, 584 F.3d 52, 57 (2d Cir. 2009) (“By definition, one who acts ‘maliciously’ does not

reasonably believe he is ‘acting in good faith.’”).

       Indeed, in the context of Eighth Amendment claims of excessive force against prisoners,

district courts in this Circuit routinely have concluded that qualified immunity is, as a matter of

law, not an available defense. See Ismael v. Charles, No. 18-cv-3957-GHW, 2020 U.S. Dist.

LEXIS 124292, at *26 (S.D.N.Y. July 15, 2020) (noting that evidence that officers acted



                                                  4
      Case 6:20-cv-06150-CJS-MWP Document 40 Filed 10/11/22 Page 5 of 6




maliciously and sadistically “is enough to preclude the officers’ qualified immunity defense”);

see also, e.g., Zimmerman v. Pautz, No. 12-CV-00763A(F), 2020 U.S. Dist. LEXIS 97763, at

*68-69 (W.D.N.Y. June 2, 2020) (“A finding that the injury was purposefully inflicted would

support that Defendants are not to be entitled to qualified immunity because it was well-

established prior to November 10, 2010, that prison inmates were not to be subjected to

excessive force.” (citation omitted)); Castro v. City of New York, No. 16-CV-8147 (RA), 2020

U.S. Dist. LEXIS 215567, at *38 (S.D.N.Y. Nov. 18, 2020) (“Accepting Plaintiff’s version of

events—that one of the Defendants deliberately punched him with the intent to cause harm—

would likely preclude a finding that Plaintiff’s rights were not clearly established at the time of

the violation, or that it was objectively reasonable for [the officers] to believe the conduct at

issue was lawful.”).

       As to plaintiff’s claims against Nurse Pottinger arising from her “deliberate indifference”

to plaintiff’s serious medical needs, it does not appear that the Second Circuit has yet ruled on

whether the defense of qualified immunity would be available in that context. However, those

Circuit Courts that have addressed the issue have concluded that “deliberate indifference” and

“qualified immunity” are mutually exclusive. See Beers Capitol v Whetzel, 256 F.3d 120, 142

n.15 (3d Cir. 2001) ("because deliberate indifference under Farmer requires actual knowledge or

awareness on the part of the defendant, a defendant cannot have qualified immunity if she was

deliberately indifferent."); Albers v. Whitley, 743 F.2d 1372, 1376 (9th Cir. 1984) (“A finding of

deliberate indifference is inconsistent with a finding of good faith or qualified immunity. The

two findings are mutually exclusive.”); Rish v. Johnson, 131 F.3d 1092, 1098 n.6 (4th Cir. 1997)

(“Several courts of appeals have acknowledged a special problem inherent in applying an

objective qualified immunity standard in the context of an Eighth Amendment claim that is



                                                  5
      Case 6:20-cv-06150-CJS-MWP Document 40 Filed 10/11/22 Page 6 of 6




satisfied only by a showing of deliberate indifference. These courts have held that when

forecasted evidence is adequate to raise a genuine issue of fact concerning a prison official's

unreasonable response to actual knowledge of a substantial risk of harm, the qualified immunity

inquiry drops from the case.”) (citing 6th, 7th, and 9th Circuit cases). In short, any finding by the

jury that Pottinger acted with the requisite state of mind to satisfy the “deliberate indifference”

standard under the Eighth Amendment would be antithetical to a finding that this defendant also

acted in “good faith,” thus entitling her to qualified immunity.

       Accordingly, defendants should be precluded from advancing their qualified immunity-

based affirmative defense at trial.


Dated: New York, New York
       October 11, 2022
                                               Yours, etc.
                                               Sivin, Miller & Roche, LLP

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